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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 United States of America et al.      )   State of Colorado et al.   )
                                      )                              )
              Plaintiff                          Plaintiff               Civil Action No.
                                      )                              )
                 v.                   )              v.              )   1:20-cv-03010 (APM)
             Google LLC               )        Google LLC            )
                                      )                              )   1:20-cv-03715 (APM)
             Defendant                )         Defendant            )


                     DECLARATION OF CAROLINE SIMONS IN
                SUPPORT OF MOTION FOR ADMISSION PRO HAC VICE

        1.      My full name is Caroline Koo Simons. I am counsel for non-party Microsoft

Corporation. I am an attorney at the law firm Orrick, Herrington & Sutcliffe LLP.

        2.      My office is located at 222 Berkeley Street, Suite 2000, Boston,

Massachusetts, telephone number (617) 880-1800. My email address is csimons@orrick.com.

        3.      I am a member in good standing of the bar of the Commonwealth of

Massachusetts. I was admitted on June 13, 2011.

        4.      I also am a member in good standing of the bar of the State of New York.

I was admitted on June 23, 2009.

        5.      I certify that there are no pending disciplinary proceedings against me before

any bar, and I have not been disciplined by any bar in the past.

        6.      I have not been admitted pro hac vice before this Court within the last two years.

        7.      I do not engage in the practice of law in the District of Columbia.

        8.      I do not have an application for membership pending with this Court.

        9.      I understand that this admission pro hac vice does not constitute formal

admission to the Bar of this Court.
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I declare under penalty of perjury that the foregoing is true and correct.


Executed in Boston, Massachusetts.


Dated: July 6, 2021                                 Respectfully Submitted,

                                                       _________________________
                                                       Caroline Koo Simons




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